May 19, 2023


VIA ECF

Hon. Analisa Torres
United States District Court
Southern District of New York
500 Pearl Street
New York, NY 10007


SEC v. Ripple Labs Inc., et al., No. 20-cv-10832-AT-SN (S.D.N.Y.)


Dear Judge Torres:

           Plaintiff Securities and Exchange Commission and Defendants Ripple
Labs Inc., Bradley Garlinghouse, and Christian A. Larsen (collectively, the “Parties”)
jointly request that the Court order the Parties to file on June 13, 2023 public,
redacted versions of their cross-motions for summary judgment and accompanying
exhibits consistent with the Court’s May 16, 2023 sealing ruling. See ECF No. 819.
Although the Parties had previously requested, and the Court had ordered, that
public, redacted versions of the materials be filed 21 days after the Court’s sealing
ruling, see Sept. 12, 2022 Order (ECF No. 620), which is June 6, 2023, the Parties
now jointly request a one-week extension of that deadline in light of the voluminous
nature of the materials and redactions. This is the first request to extend this
deadline. The Parties further note that the Court approved a similar timeline for the
filing of public, redacted versions of the Daubert motions, which were significantly
less voluminous. See Dec. 21, 2022 Order (ECF No. 743) (approving three-and-a-
half week timeline).

Respectfully submitted,


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Hon. Analisa Torres                              May 19, 2023




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cc:    All Counsel of Record (via ECF)
